
675 S.E.2d 661 (2009)
STATE of North Carolina
v.
Yvonne Lorraine BREWER.
No. 32P09.
Supreme Court of North Carolina.
March 19, 2009.
Michael Casterline, Asheville, for Brewer.
Anne Stone, Assistant Attorney General, Ronald L. Moore, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed on the 20th day of January 2009 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 19th day of March 2009."
